                    Case: 1:19-cv-03887 Document #: 6 Filed: 07/08/19 Page 1 of 3 PageID #:12
AO 440 (Rev 05/00) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF ILLlNOIS



                                                                        SUMMONS IN A CIVIL CASE
Sherrie obinson

                                                              CASE NUMBER:          1: 19..cv�03887
                                V.                            ASSIGNED JUDGE:
                                                                                   Hon. Edmond E. Chang
 DeVille sset Management LTD                                  DESIGNATED
                                                              MAGISTRATE JUDGE: Hon. Jeffrey Cole


                 TO: (Name and address of PefemJant)
           . lle Asset. M. anagement LTD
        De'j!
                        .
        c/o � T Corporation   System
        936 Glacier Hwy., Ste 202
        Jun au, AK 99801


          Y U ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)
                 Brian J. Olszewski
                 Law Offices of Michael Lee Tinaglia, Ltd.
                 444 N. Northwest Hwy., Ste. 350
                 Park Ridge, IL 60068

                                                                                                               D

an iilllSWer o the complaint which is herewith served upon, you,                21            days after service of this
                                                                          . .
summons pon you, ex.elusive of the day of servic.e. If you fail to do so, judgment by default will be taken against you for
the relief 'mantled in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period ofti e after service.




             r��
      THO!\fAS G. BRUTON, CLERK
                                                                                    June 12, 2019
      (By) DrUTY CLERK                                                              DATE
                        Case: 1:19-cv-03887 Document #: 6 Filed: 07/08/19 Page 2 of 3 PageID #:12

                                                                RETURN OF SERVICE

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   Check onr box below to indicate appropriate method of service
                   Certified
       '){) �erved personally
                   ----------- upon the defendant. Place where served:                 er CbY\'.3'.)rcthOn            �<&-\-{J\I)
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          D yeft copies thereof_ at the de_ £_endant's dwelling house or usual place of abode with a person of suitable age and
               f  _
             scretion        _
                      then residing   . therein.
                    ame of person with whom the summons and complaint were left:
               l
          D     etumed unexecuted:
               l




          D     her (specify):
               r




                                                           STATEMENT OF SERVICE FEES
TRAVEL                                               SERVICES                                          TOTAL


                                                              DECLARATION OF SERVER

                I   I declare under penalty of perjury under th.e laws of the United States of America that the foregoing. information
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                                      . Date



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                                                               Address ofServer




(1) As to who ay serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
             Case: 1:19-cv-03887 Document #: 6 Filed: 07/08/19 Page 3 of 3 PageID #:12
          T.dL SERVICE

June 7, 2019

Dear teference Sherrie Robinson v DeVille Asset Management LTD:

The lowing is in response to your request for proof of delivery on your item with the tracking number:
    td
9414 108 9876 5037 2273 28.



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StatuJ Date/ Time:                                     June 26, 2019, 11:11 am
Locaion:                                               JUNEAU, AK 99801
Post I Product:                                        First-Class Mail®
Extra Services:                                        Certified Mail ™
                                                       Return Receipt Electronic
                                                       c o C T Corporation System
Shipment Details

                                                        2.0oz
Recipient Signature


                  Signature of Recipient:


                   Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


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